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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                           BUTTE DIVISION
             _____________________________________________

UNITED STATES OF AMERICA,
                                                    CR 11-33-BU-DWM
                          Plaintiff,

             vs.
                                                           ORDER
MARK STEPHEN SIGLER, and
VALERIE DANIELLE SIGLER,

                        Defendants.
              _____________________________________________

      Defendant Mark Sigler has notified the Court of his intent to plead guilty to

the offense of conspiring to manufacture marijuana as charged in the Information

filed against him. He requests a hearing for the entry of his guilty plea, and he

requests the hearing be conducted at the time of his initial appearance and

arraignment which are presently set for March 12, 2012.

      United States District Court Judge Donald W. Molloy has referred this case

to the undersigned for purposes of conducting the plea hearing requested by

Defendant. Therefore, IT IS HEREBY ORDERED that Defendant’s initial

appearance, arraignment, and plea hearing are set for March 12, 2012, at 1:00

p.m., at the Mike Mansfield Federal Courthouse, 400 N. Main, Butte, Montana.

      Defendant further moves for leave to file under seal the plea agreement he

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has entered with the United States. In support of his motion, Defendant requests

that the agreement be sealed for the reasons stated in other documents previously

filed in this matter. By reference to those documents, Defendant asserts, in

substance, that there exists a risk that his plea agreement could “become a vehicle

for improper purposes[.]” Kamakana v. City and County of Honolulu, 447 F.3d

1172, 1179 (9th Cir. 2006) (quoting Nixon v. Warner Communications, Inc., 435

U.S. 589, 598 (1978)). Consistent with the Court’s Order entered December 2,

2011, Defendant’s assertion presents a “compelling reason” that overcomes the

presumption in favor of allowing public access to public records, and is sufficient

to allow a document to be filed under seal. Kamakana, 447 F.3d at 1179. See also

L.R. CR 49.1(a). Therefore, IT IS FURTHER ORDERED that Defendant’s

motion for leave to file his plea agreement under seal is GRANTED.

      DATED this 7th day of March, 2012.



                                       /s/ Jeremiah C. Lynch
                                      Jeremiah C. Lynch
                                      United States Magistrate Judge




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